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11                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
12                                   AT SEATTLE
13
     MUKESH KUMAR,
14
                              Petitioner,            Case No. C20-758-RAJ-MLP
15
           v.                                        ORDER OF DISMISSAL
16
     ICE FIELD OFFICE DIRECTOR,
17
                              Respondent.
18

19
           Having reviewed the Report and Recommendation of the Honorable Michelle L.
20
     Peterson, United States Magistrate Judge, any objections or responses to that, and the
21
     remaining record, the Court finds and ORDERS:
22
           (1)      The Court ADOPTS the Report and Recommendation.
23
           (2)      The Government’s motion to dismiss as moot (Dkt. # 9) is GRANTED.



     ORDER OF DISMISSAL - 1
             Case 2:20-cv-00758-RAJ Document 15 Filed 10/21/20 Page 2 of 2




 1         (3)    Petitioner’s habeas petition is DENIED.

 2         (4)    This action is DISMISSED without prejudice.
 3         (5)    The Clerk is directed to send copies of this Order to the parties and to Judge
 4
     Peterson.
 5
           Dated this 21st day of October, 2020.
 6

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                                                     A
                                                     The Honorable Richard A. Jones
                                                     United States District Judge
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     ORDER OF DISMISSAL - 2
